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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF MISSISSIPPI

UNITED STATES OF AMERICA )
V. CRIMINAL NO. 3:08CR089

18 U.S.C. § 242 |

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JEFFREY ROGERS ~

PENALTIES

COUNT ONE

NM than 1 year imprisonment - (18 U.S.C. § 242); fine of NM $100,000 - (18 U.S.C. §
3571(b)(3)); NM 1 year supervised release - (18 U.S.C. § 3583(b)(2)); and a $25 mandatory
special assessment - (18 U.S.C. § 3013(a)(2)(A)).

